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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                 MACON DIVISION


MICHAEL A. COX,

         Plaintiff,

v.                                                             CIVIL ACTION NO.
                                                              5:19-cv-00326-TES-MSH
ADRIAN NELSON, et al.,

         Defendants.



                        ORDER ADOPTING THE UNITED STATES
                       MAGISTRATE JUDGE’S RECOMMENDATION



         In his Recommendation [Doc. 35], the United States Magistrate Judge

 recommends that Plaintiff’s Complaint [Doc. 1] be dismissed without prejudice and

 Defendants’ Motion for Summary Judgment [Doc. 30] be terminated as moot because

 Plaintiff routinely failed to obey simple court orders. No objections 1 have been filed to

 the Magistrate Judge’s Recommendation; therefore, the Court reviews his findings for

 clear error. 28 U.S.C. § 636(b)(1)(A). After careful review, the Court, finding no clear

 error, ADOPTS the Recommendation [Doc. 35] and MAKES IT THE ORDER OF THE

 COURT. Accordingly, Plaintiff’s Complaint [Doc. 1] is DISMISSED without prejudice




 1The Court notes that on October 15, 2020, Plaintiff filed a third Motion to Appoint Counsel [Doc. 36].
 However, in his Motion, Plaintiff fails to make any mention of the magistrate judge’s Recommendation
 [Doc. 35] that would lead the Court to conclude his Motion could possibly constitute an objection.
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and the Court terminates as moot Defendants’ Motion for Summary Judgment [Doc. 30]

and Plaintiff’s Motion to Appoint Counsel [Doc. 36].

      SO ORDERED, this 16th day of October, 2020.

                                        S/Tilman E. Self, III
                                        TILMAN E. SELF, III, JUDGE
                                        UNITED STATES DISTRICT COURT




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